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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        vs.                                        )       Cause No. 1:11-cr-15-WTL-KPF-6
                                                   )
 MOHAMED WARSAMEY,                                 )
                                                   )
                Defendant.                         )
                                                   )

              ENTRY ON THE DEFENDANT’S MOTION FOR SPEEDY TRIAL
                      AND MOTION FOR PRETRIAL RELEASE

        This cause is before the Court on Defendant Mohamed Warsamey’s Combined Motion

 for Speedy Trial and Motion for Pretrial Release. The motion is fully briefed, and the Court,

 being duly advised, DENIES the Defendant’s motion for the reasons set forth below.

                                        I. BACKGROUND

        The Defendant and seven others are charged with knowingly conspiring to possess with

 the intent to distribute and to distribute cathinone in violation of the Controlled Substances Act.

 Warsamey was arrested on February 17, 2011, and first appeared on the original indictment

 charging him on February 18, 2011.

        On March 2, 2011, the Government moved to continue the Defendants’ trial, and a

 hearing on the motion was held on April 11, 2011. The Court found that given the amount of

 discovery, the number of defendants, and the complexity of the case, the ends of justice served

 by the continuance outweighed the defendants’ and the public’s interest in a speedier trial. The

 Court further excluded time lapses between the original April 18, 2011, trial date and the next

 trial date under 18 U.S.C. § 3161 et seq. Trial was rescheduled for September 19, 2011.
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        At the final pretrial conference held on August 25, 2011, one of Warsamey’s co-

 defendants moved to continue the trial. Warsamey objected to the continuance and the co-

 defendant’s motion was denied.

        On August 30, 2011, Warsamey was released to the Volunteers of America (“VOA”)

 under conditions of release imposed by the Court. Warsamey then reversed his objection to the

 continuation of the bench trial and filed a written motion to continue on September 1, 2011. The

 Court granted Warsamey’s motion and continued trial to November 7, 2011.

        On October 18, 2011, the Court granted the withdrawal of counsel for one of

 Warsamey’s co-defendants, warranting the continuation of trial. Warsamey orally objected to the

 continuance and requested that he be released on his own recognizance pending trial, but the

 Court denied the oral request and noted that it would consider a written motion if filed. The trial

 was continued to March 26, 2012.

        Warsamey now files a motion on speedy trial grounds and for pretrial release pursuant to

 the Court’s instructions. Warsamey argues that the continuation of trial, combined with his

 supervision by the VOA pending trial, violates the Sixth Amendment of the Constitution.1

 Accordingly, he requests that the Court (1) dismiss the sole count against him, (2) sever his trial

 from the remaining defendants, or (3) release him to home detention pending trial in this matter.

                                         II. DISCUSSION

        The Sixth Amendment guarantees the accused in a criminal prosecution the right to a

 speedy trial. U.S. Const. amend. VI. The Court considers four factors when assessing a speedy



        1
          Warsamey does not argue that the circumstances constitute a violation of the Speedy
 Trial Act.

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 trial challenge: (1) whether delay before trial was uncommonly long; (2) whether the

 government or the criminal defendant is more to blame for that delay; (3) whether, in due course,

 the defendant asserted his right to a speedy trial; and (4) whether he suffered prejudice as the

 delay’s result. United States v. White, 443 F.3d 582, 589 (7th Cir. 2006). However, “unless a

 presumptively prejudicial amount of time has elapsed in the district court, it is unnecessary to

 conduct a searching analysis of [the remaining three] factors.” United States v. Oriedo, 498 F.3d

 593, 597 (7th Cir. 2007).

        The Seventh Circuit has considered delays that approach one year presumptively

 prejudicial. E.g., id. In this case, more than thirteen months will pass from original indictment to

 trial, and thus analysis of the remaining factors is warranted.

        The second factor, the reason for the delay, requires detailed analysis of the course of

 pretrial proceedings. Id. In April 2011, the Government moved to continue the trial until

 September 2011– a delay of roughly five months. Warsamey moved to continue the trial in late

 August 2011, and the trial date was rescheduled for early November 2011 – a roughly two-

 month delay. Counsel for one of Warsamey’s co-defendants withdrew in mid-October 2011, and

 the trial was again continued, this time to March 26, 2012 – a delay of roughly five months.

 Thus, while the Government is responsible for a five-month delay, Warsamey himself is

 responsible for a two-month delay, and his co-defendant is responsible for another five-month

 delay. Given the relative duration of these delays, as well as Warsamey’s own request for delay,

 this factor does not weigh heavily on either side of the scale.

        The third factor, assertion of the right, is similarly unhelpful. While Warsamey did not

 object to the Government’s first delay of five months, he did object to the second delay.


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 However, once he was released on home detention, he filed his own motion to continue, and the

 trial was again delayed two months. He now asserts his right in relationship to another delay of

 five months. Warsamey has asserted his right twice during this now nine-month-long case, but

 he also reversed his first objection and moved to continue the trial himself.

        The fourth factor considers prejudice to the defendant as a result of the delay. The right is

 intended to (1) prevent oppressive pretrial incarceration; (2) minimize anxiety and concern of the

 accused; and (3) limit the possibility that the defense will be impaired, which is the most serious

 concern. Oriedo, 498 F.3d at 600.

        Warsamey argues the he will suffer oppressive pretrial incarceration because, with a

 advisory guideline sentencing range of 0-6 months and six and one-half months already spent in

 prison, if convicted, he could spend seventeen more days in detention than he may receive if he

 were convicted.2 Warsamey miscalculates his advisory sentencing range, which is actually 10-16

 months.3 In addition, the anxiety and concern Warsamey suffers is no different than every

 accused who must serve pretrial detention knowing that he may have ultimately served time for a

 crime of which he is acquitted. As a result, this aspect of prejudice does not necessarily weigh in

 Warsamey’s favor.

        Warsamey presents no evidence that his defense will be prejudiced by continued delay.

 While a showing of prejudice is not necessary in all circumstances, id. at 600 (citing Moore v.



        2
        Warsamey was arrested on February 17, 2011, detained, and released to the VOA on
 September 1, 2011 – a detention of roughly six and one-half months.
        3
          Conviction under 21 U.S.C. 841(a)(1) and (b)(1)(C) for 212.5 kilograms of a mixture or
 substance containing a detectable amount of cathinone carries a base offense level of 12 pursuant
 to the U.S. Sentencing Guidelines Manual § 2D1.1, Commentary 10(E) (2010).

                                                  4
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 Arizona, 414 U.S. 25, 26, 94 (1973)), this case is unique in that delay may benefit the defense

 given the amount of discovery, the number of Defendants, and complexity of the case, as counsel

 will have more time to review the evidence and prepare for trial. On the whole, then, concerns of

 prejudice weigh against Warsamey.

         Upon review of the evidence, the Court finds that Warsamey has not demonstrated a

 denial of his Sixth Amendment right to a speedy trial. The reason for delay is shared by the

 Government, Warsamey, and his co-defendants. Importantly, Warsamey has not served more

 time than he may receive if he were to be convicted. Finally, Warsamey has shown no prejudice

 as a result of the delay.

                                       III. CONCLUSION

         For the foregoing reasons, the Court DENIES the Defendant’s motion for (1) dismissal

 of the charges against him, (2) severance of his trial from the remaining defendants, and (3)

 release of the Defendant on home detention pending trial in this matter.

         The Court will, however, review the terms of Warsamey’s release at a hearing set for

 Wednesday, November 9, 2011, at 10:30 a.m. in Courtroom 202, United States Courthouse,

 46 E. Ohio Street, Indianapolis, Indiana.

         SO ORDERED:         11/04/2011
                                                               _______________________________
                                                               Hon. William T. Lawrence, Judge
                                                               United States District Court
                                                               Southern District of Indiana




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